259 F.2d 869
    58-2 USTC  P 9885
    UNITED STATES of America, Appellee,v.George BECKER, Defendant-Appellant.
    No. 95, Docket 25180.
    United States Court of Appeals Second Circuit.
    Argued Oct. 7, 1958.Decided Oct. 22, 1958.
    
      Before CLARK, Chief Judge, and NEDINA and LUMBARD, Circuit Judges.
      PER CURIAM.
    
    
      1
      In this case Judge Dawson, sitting without a jury after waiver by the defendant, found as a fact beyond a reasonable doubt that defendant willfully and knowingly neglected to produce certain of the books and papers called for by a summons served upon him by a special agent of the Internal Revenue Service.  This finding is amply supported by the evidence.  The detailed statement of facts in the court's memorandum opinion belies defendant's assertion that it disregarded defendant's request for special findings of fact under Rule 23(c) of the Federal Rules of Criminal Procedure.  We also find insubstantial the other alleged errors.  Accordingly defendant's conviction under 26 U.S.C. 7210 is affirmed.
    
    
      2
      Eugene O. Cobert, of Liebowitz, Cobert &amp; Deixel, New York City (Roy M. Zeig, of Liebowitz, Cobert &amp; Deixel, New York City, on the brief), for defendant-appellant.
    
    
      3
      Mark F. Hughes, Jr., Asst. U.S. Atty., S.D.N.Y., New York City (Arthur H. Christy, U.S. Atty., and George I. Gordon, Asst. U.S. Atty., New York City, on the brief), for appellee.
    
    